                      Case 8-19-77863-las                            Doc 12   Filed 01/03/20     Entered 01/03/20 12:55:15



IN THE UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                                     x
 In re:                                                                                     Case No.       8-19-77863
 Kristine Vadjinia
                                                                                            Chapter        7

                                               Debtor(s).
                                                                                     x

                                               AFFIDAVIT PURSUANT TO LOCAL RULE 1009-1(a)

               Kristine Vadjinia           , undersigned debtor herein, swears as follows:

1.          Debtor filed a petition under chapter 7 of the Bankruptcy Code on November 18, 2019 .

2.          Filed herewith is an amendment to Schedule F previously filed herein.

3.          Annexed hereto is a listing setting forth the specific additions or corrections to, or deletions from, the affected
            list(s), schedule(s) or statement(s). The nature of the change (addition, deletion or correction) is indicated for each
            creditor or item listed. Adding creditors 1. Chase bank (6385)(3667), Dept. of Social Services, Elliot Heath, HQ
            Shopping and NYS Dept. of Tax and Finance.

4.          [If creditor records have been added] An amended mailing matrix is annexed hereto, listing added creditors
            ONLY, in the format prescribed by Local Rule 1007-2(b)(i).

Dated:        January 3, 2020

                                                                                   /s/ Kristine Vadjinia
                                                                                   Kristine Vadjinia
                                                                                   Debtor (signature)
/s/ John Gonzalez
John Gonzalez
Notary Public
State of New York
ID # 02G05078173
Commission Expires May 19, 2023


 Reminder: No amendment of schedules is effective until proof of service in accordance with EDNY LBR 1009-1(b)
has been filed with the Court.

If this amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007, it will be
deemed to constitute a motion for a 30-day extension of the time within which any added creditors may file a complaint to
object to the discharge of the debtor and/or to determine dischargeability. This motion will be deemed granted without a
hearing if no objection is filed with the Court and served on debtor within 10 days following filing of proof of service of
this affidavit, all attachments and the amended schedules in accordance with EDNY LRB 1009-1.




USBC-63                                                                                                                            Rev. 1/14/04
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 Fill in this information to identify your case:

 Debtor 1                   Kristine Vadjinia
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number            8-19-77863
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          AT&T Mobility                                           Last 4 digits of account number         8877                                                           $846.33
              Nonpriority Creditor's Name
              PO Box 537104                                           When was the debt incurred?             2019
              Atlanta, GA 30353
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Cell




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 4.2      AT&T Mobility                                               Last 4 digits of account number       Vadjinia                                         $3,000.00
          Nonpriority Creditor's Name
          c/o Bankruptcy                                              When was the debt incurred?           2019
          4331 Communications Dr
          Flr 4W
          Dallas, TX 75211
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Alarm


 4.3      Caine & Weiner                                              Last 4 digits of account number       1661                                             $2,105.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                            When was the debt incurred?           Opened 01/17
          21210 Erwin St
          Woodland Hills, CA 91367
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection Attorney Pods Of New York Llc


 4.4      Capital One                                                 Last 4 digits of account number       6298                                             $1,179.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 05/09 Last Active
          Po Box 30253                                                When was the debt incurred?           4/01/17
          Salt Lake City, UT 84130
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card




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 4.5      Capital One                                                 Last 4 digits of account number       8312                                               $526.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 06/10 Last Active
          Po Box 30253                                                When was the debt incurred?           7/15/17
          Salt Lake City, UT 84130
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.6      Cardworks/CW Nexus                                          Last 4 digits of account number       2077                                             $1,908.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 08/11 Last Active
          Po Box 9201                                                 When was the debt incurred?           3/23/17
          Old Bethpage, NY 11804
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.7      Cavalry Portfolio Services                                  Last 4 digits of account number       2325                                               $638.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                 When was the debt incurred?           Opened 10/11
          500 Summit Lake Ste 400
          Valhalla, NY 10595
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection Attorney Hsbc Bank Nevada




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 4.8      Chase Receivables                                           Last 4 digits of account number       8438                                               $328.00
          Nonpriority Creditor's Name
          1247 Broadway                                               When was the debt incurred?           Opened 02/17
          Sonoma, CA 95476
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection Attorney Peapod


 4.9      Chase-National Legal Proc                                   Last 4 digits of account number       6385                                               $557.18
          Nonpriority Creditor's Name
          National Legal Processing                                   When was the debt incurred?           2019
          451 Florida Street
          3rd Floor
          Baton Rouge, LA 70826
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Overdraft


 4.1
 0        Chase-National Legal Proc                                   Last 4 digits of account number       3667                                             $1,032.68
          Nonpriority Creditor's Name
          National Legal Processing                                   When was the debt incurred?           2019
          451 Florida Street
          3rd Floor
          Baton Rouge, LA 70826
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Overdraft




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 4.1
 1        Citibank/Best Buy                                           Last 4 digits of account number       4817                                             $2,218.99
          Nonpriority Creditor's Name
          Centralized Bk/Citicorp Credt Srvs                                                                Opened 09/14 Last Active
          Po Box 790040                                               When was the debt incurred?           12/02/16
          St Louis, MO 63179
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.1
 2        Comenity Capital Bank/HSN                                   Last 4 digits of account number       9101                                             $2,394.00
          Nonpriority Creditor's Name
                                                                                                            Opened 01/15 Last Active
          Po Box 182125                                               When was the debt incurred?           4/02/17
          Columbus, OH 43218
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.1
 3        Comenitybank/venus                                          Last 4 digits of account number       3059                                               $706.00
          Nonpriority Creditor's Name
          Comenity Bank                                                                                     Opened 05/15 Last Active
          Po Box 182125                                               When was the debt incurred?           7/14/17
          Columbus, OH 43218
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account




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 4.1
 4        Credit First NA                                             Last 4 digits of account number       2690                                             $1,285.89
          Nonpriority Creditor's Name
          PO Box 81410                                                When was the debt incurred?           04/16/17
          Cleveland, OH 44181
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Auro Care


 4.1
 5        Credit First National Assoc                                 Last 4 digits of account number       2690                                             $1,307.00
          Nonpriority Creditor's Name
          Attn: BK Credit Operations                                                                        Opened 06/11 Last Active
          Po Box 81315                                                When was the debt incurred?           11/15/16
          Cleveland, OH 44181
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.1
 6        Dept of Social Services                                     Last 4 digits of account number       Vadjinia                                         $1,500.00
          Nonpriority Creditor's Name
          200 Wireless Blvd                                           When was the debt incurred?           2013-2019
          Hauppauge, NY 11788
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   HEAP




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 4.1
 7        E commission Financial                                      Last 4 digits of account number       Vadjinia                                         $6,400.00
          Nonpriority Creditor's Name
          Services Inc.                                               When was the debt incurred?           2019
          11612 Bee Caves Road
          Building II, Suite 200
          Austin, TX 78738
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Commission Advance


 4.1
 8        Elliott Heath                                               Last 4 digits of account number       2019                                             Unknown
          Nonpriority Creditor's Name
          P.O. Box 232                                                When was the debt incurred?           2019
          Southold, NY 11971
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal Injury


 4.1
 9        First National Credit Card/Legacy                           Last 4 digits of account number       7094                                               $777.00
          Nonpriority Creditor's Name
          First National Credit Card                                                                        Opened 06/09 Last Active
          Po Box 5097                                                 When was the debt incurred?           12/02/16
          Sioux Falls, SD 51117
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card




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 4.2
 0        Great Expr. Dental Cntrs.                                   Last 4 digits of account number       1105                                                 $30.00
          Nonpriority Creditor's Name
          805 Middle Country Rd                                       When was the debt incurred?           05/27/2016
          Selden, NY 11784
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical


 4.2
 1        HQ Shopping                                                 Last 4 digits of account number       Vadjinia                                           $579.32
          Nonpriority Creditor's Name
          6740 Shady Oak Road                                         When was the debt incurred?           2019
          Eden Prairie, MN 55344
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit


 4.2
 2        Karmen & Michaels Fin                                       Last 4 digits of account number       39N1                                             $1,685.00
          Nonpriority Creditor's Name
          3296 E Guasti Rd Ste A                                      When was the debt incurred?           Opened 07/16
          Ontario, CA 91761
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection Attorney Vivint




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 4.2
 3        Kohls/Capital One                                           Last 4 digits of account number       2511                                             $3,095.00
          Nonpriority Creditor's Name
          Kohls Credit                                                                                      Opened 08/11 Last Active
          Po Box 3043                                                 When was the debt incurred?           12/03/16
          Milwaukee, WI 53201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.2
 4        Merrick Bank                                                Last 4 digits of account number       Vadjinia                                         Unknown
          Nonpriority Creditor's Name
          PO Box 171379                                               When was the debt incurred?           2018
          Salt Lake City, UT 84117-1379
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit


 4.2
 5        Mullooly, Jeffrey, Rooney                                   Last 4 digits of account number       2800                                               $612.56
          Nonpriority Creditor's Name
          6851 Jericho Turnoike,                                      When was the debt incurred?           11/14/2016
          Suite 220
          PO BOX 9036
          Syosset, NY 11791
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit




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 Debtor 1 Kristine Vadjinia                                                                               Case number (if known)         8-19-77863

 4.2
 6        Nationwide Credit, Inc.                                     Last 4 digits of account number       0793                                             $1,251.20
          Nonpriority Creditor's Name
          PO Box 14581                                                When was the debt incurred?           07/25/17
          Des Moines, IA 50306
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.2
 7        NYS Dept. of Tax and Fin.                                   Last 4 digits of account number       8642                                           $16,898.05
          Nonpriority Creditor's Name
          Bankruptcy Section                                          When was the debt incurred?           2012 2013 and 2014 tax years
          PO Box 5300
          Albany, NY 12205-0300
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Income Tax


 4.2
 8        PayPal Credit                                               Last 4 digits of account number       3122                                               $592.91
          Nonpriority Creditor's Name
          PO Box 105658                                               When was the debt incurred?           04/07/2017
          Atlanta, GA 30348
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit




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 Debtor 1 Kristine Vadjinia                                                                               Case number (if known)         8-19-77863

 4.2
 9        Progressive Leasing                                         Last 4 digits of account number       0087                                               $872.45
          Nonpriority Creditor's Name
          266 W Data Dr                                               When was the debt incurred?           01/12/2017
          Draper, UT 84020
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Lease


 4.3
 0        PSEG Long Island                                            Last 4 digits of account number       8231                                             $2,008.57
          Nonpriority Creditor's Name
          PO Box 888                                                  When was the debt incurred?           2019
          Hicksville, NY 11802-0888
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Utility


 4.3
 1        Raymour & Flanigan                                          Last 4 digits of account number       3394                                             $1,789.26
          Nonpriority Creditor's Name
          PO Box 130                                                  When was the debt incurred?           05/16/2017
          Liverpool, NY 13088
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card




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 Debtor 1 Kristine Vadjinia                                                                               Case number (if known)         8-19-77863

 4.3
 2        SCWA                                                        Last 4 digits of account number       9651                                               $116.06
          Nonpriority Creditor's Name
          2045 route 112                                              When was the debt incurred?
          Suite 5
          Coram, NY 11727
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Water


 4.3
 3        Slomin's Inc                                                Last 4 digits of account number       1428                                             $1,179.39
          Nonpriority Creditor's Name
          125 Lauman Lane                                             When was the debt incurred?           06/07/2011
          PO Box 1886
          Hicksville, NY 11802
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Security


 4.3
 4        St. Joseph El. School                                       Last 4 digits of account number       5619                                             $1,022.34
          Nonpriority Creditor's Name
          25 Church St                                                When was the debt incurred?           08/2011-06/2012
          Ronkonkoma, NY 11779
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Schooling




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 4.3
 5        Syncb/home Design Se                                        Last 4 digits of account number       4425                                             $1,708.00
          Nonpriority Creditor's Name
                                                                                                            Opened 10/15 Last Active
          Po Box 96060                                                When was the debt incurred?           12/03/16
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.3
 6        Synchrony Bank/PC Richard                                   Last 4 digits of account number       2293                                             $4,178.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 09/11 Last Active
          Po Box 956060                                               When was the debt incurred?           1/22/17
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.3
 7        Synchrony Bank/QVC                                          Last 4 digits of account number       3624                                             $1,800.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 10/14 Last Active
          Po Box 956060                                               When was the debt incurred?           4/09/17
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account




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 4.3
 8        Synchrony Bank/Walmart                                      Last 4 digits of account number       4052                                               $758.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 06/15 Last Active
          Po Box 956060                                               When was the debt incurred?           12/12/16
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.3
 9        Target                                                      Last 4 digits of account number       8237                                               $809.00
          Nonpriority Creditor's Name
          C/O Financial & Retail Srvs                                                                       Opened 12/15 Last Active
          Mailstopn BT POB 9475                                       When was the debt incurred?           12/30/16
          Minneapolis, MN 55440
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card TD Bank Judgement


 4.4
 0        TRS Recovery Services                                       Last 4 digits of account number       5140                                             $1,219.24
          Nonpriority Creditor's Name
          5251 Westheimer                                             When was the debt incurred?           09/20/2012
          Houston, TX 77056
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card




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 Debtor 1 Kristine Vadjinia                                                                               Case number (if known)         8-19-77863

 4.4       Visa Dept Store National
 1         Bank/Macy's                                                Last 4 digits of account number       1733                                                     $1,562.74
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                 Opened 01/16 Last Active
           Po Box 8053                                                When was the debt incurred?           2/09/17
           Mason, OH 45040
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Charge Account


 4.4
 2         Vivint Smart Home                                          Last 4 digits of account number       Vadjinia                                                 $4,500.00
           Nonpriority Creditor's Name
           4931 and 4907 N 300 W                                      When was the debt incurred?           2018
           Provo, UT 84604
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Alarm

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Advanced Call Cnter                                           Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Technologies LLC                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 9091
 Johnson City, TN 37615-9091
                                                               Last 4 digits of account number                  3624

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ARS National Svcs.                                            Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 469100                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Escondido, CA 92046-3023
                                                               Last 4 digits of account number                  2363

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bennett Law                                                   Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 10542 SouthJordan Gateway                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 200
 South Jordan, UT 84095
                                                               Last 4 digits of account number                  0424


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 Debtor 1 Kristine Vadjinia                                                                              Case number (if known)          8-19-77863
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank NA                                           Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238
                                                               Last 4 digits of account number                    6298

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Foster and Garbis LLP                                         Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 60 Motor Parkway                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Commack, NY 11725
                                                               Last 4 digits of account number                    4853

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Malen & Associates PC                                         Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 123 Frost Street                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Westbury, NY 11590
                                                               Last 4 digits of account number                    8576

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NYS Dept of Tax and Finan                                     Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Audit Division-Suffolk                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 D.O. Sales Tax
 Vets Memorial Hwy-rm 15
 Hauppauge, NY 11788
                                                               Last 4 digits of account number                    8642

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NYS Dept. of Tax and Fin.                                     Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Assesment Recievables                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 4127
 Binghamton, NY 13902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Selip & Stylianou LLP                                         Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 199 Crossways Park Dr.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 9004
 Woodbury, NY 11797-9004
                                                               Last 4 digits of account number                    7939

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Siben & Siben, LLP                                            Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 90 East Main Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Bay Shore, NY 11706
                                                               Last 4 digits of account number                    2019

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00

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                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              76,976.16

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              76,976.16




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Robert L. Pryor
Pryor & Mandelup LLP
675 Old Country Road
Westbury, NY 11590

Chase- National Legal Processing
451 Florida Street
3rd Floor
Baton Rouge, LA 70826

Dept. of Social Services
200 Wireless Blvd.
Hauppauge, NY 11788

Elliott Heath
PO Box 232
Southold, NY 11917

HQ Shopping
6740 Shady Oak Road
Eden Prairie, MN 55344

NYS Dept. of Taxation and Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205
